                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:09-cr-181-CLC-WBC
v.                                                   )
                                                     )
GUADALUPE GAITAN                                     )

                                 MEMORANDUM AND ORDER

       GUADALUPE GAITAN (“Supervised Releasee”) appeared for a hearing before the
undersigned on March 17, 2014, in accordance with Rule 32.1 of the Federal Rules of Criminal
Procedure on the Petition for a Warrant or Summons for an Offender Under Supervision (“Petition”).
Those present for the hearing included:

               (1)     An Assistant United States Attorney for the Government;
               (2)     Supervised Releasee; and
               (3)     An Attorney with Federal Defender Services of Eastern
                       Tennessee (“FDS”) for the Supervised Releasee.

        After being sworn in due form of law, Supervised Releasee was informed or reminded of his
privilege against self-incrimination accorded him under the Fifth Amendment to the United States
Constitution. It was determined that Supervised Releasee wished to be represented by an attorney
and he qualified for appointed counsel. FDS was appointed to represent Supervised Releasee. It was
also determined that Supervised Releasee had been provided with and reviewed with counsel a copy
of the Petition.

        The Government moved that Supervised Releasee be detained without bail pending his
revocation hearing before U.S. District Judge Curtis L. Collier. Supervised Releasee waived his right
to a preliminary hearing and a detention hearing.

                                             Findings

       Based upon the Petition and waiver of preliminary hearing, the Court finds there is
       probable cause to believe Supervised Releasee has committed violations of his
       condition of supervised release as alleged in the Petition.

                                            Conclusions

       It is ORDERED:

       (1) Supervised Releasee shall appear for a revocation hearing before U.S. District
       Judge Collier.




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  (2) The Government’s motion that supervised releasee be DETAINED WITHOUT
  BAIL pending his revocation hearing before Judge Collier is GRANTED.

  (3) The U.S. Marshal shall transport Supervised Releasee to a revocation hearing
  before Judge Collier on Thursday, April 10, 2014 at 9:00 a.m. [EASTERN].

  SO ORDERED.

  ENTER:

                                     s/fâátÇ ^A _xx
                                     SUSAN K. LEE
                                     UNITED STATES MAGISTRATE JUDGE




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